Case 2:04-cr-20506-.]PI\/| Document 30 Filed 08/01/05 Page 1 of 2 Page|D 59

also ev i`.... o.c.
IN THE UN].TED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE __ = 5 ‘
WESTERN DIVISION 05 AUG l AH m

 

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O.ERK. U.S. [J?S?R%CT COUHT

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UNITED sTATEs oF AMERICA W'|DG; ‘i“?“`"d%

Plaintiff,
VS CR. NO. 04-20506-Ml
TRINA T. THOMAS

Defendant(s)

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD'OF EXCLUDABLE DELAY

 

This cause was set for Trial on Monday, August 8, 2005 at 9:30 A.M.
Counsel for the government requested a continuance of the present
setting. The continuance is necessary to allow for additional
preparation in the case.

The Court granted the request and continued the matter for Report
to Friday, August 26, 2005 at 9:00 A.M. and a trial date of September 6,
2005.

The period from August 12, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 316l(h)(8)(B)(iv) to allow government
counsel additional time to prepare.

IT IS SO ORDERED this the l day of August, 2005.

w MQ

JON HIPPS MCCALLA
UNI ED STATES DISTRICT JUDGE

 

This document entered on the docket sheet |n compliance
wm sure 55 and/or 32(b) Fsch on ' 'O.‘;')

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
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Honorable J on McCalla
US DISTRICT COURT

